              IN THE UNITED STATES DISTRICT COURT
                                                                        Motion GRANTED.
              FOR THE MIDDLE DISTRICT OF TENNESSEE
                       NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              ) No. 3:11-00082
            v.                                )
                                              ) JUDGE TRAUGER
                                              )
BETTY GENTRY                                  )


                     DEFENDANT BETTY GENTRY’S
                 MOTION FOR WAIVER OF DRUG TESTS

      Defendant,         Betty          Gentry          (“Mrs.       Gentry”),

respectfully requests that this Honorable Court waive

the condition of Probation which requires one drug test

within 15 days of release on Probation and at least two

periodic drug tests.             Mrs. Gentry does not use drugs

and never tested positive for drug use while on Pre-

trial    release      for   three        years.         Additional      testing

would be an unnecessary hardship on Mrs. Gentry given

the travel difficulties.                  (Defense counsel will once

again need to go get Mrs. Gentry on Thursday, April 10,

2014, and bring her to Nashville so that the ankle

bracelet can be put on her).                       The attorney for the


                                     Page 1 of 2

Case 3:11-cr-00082   Document 1629     Filed 04/10/14   Page 1 of 1 PageID #: 10020
